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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


THEODORE J. GUARRIELLO JR.,    *
THEODORE GUARRIELLO JR. TRUST, *
U/A/DTD 6/18/2003, and         *
THEODORE GUARRIELLO JR.        *
TRUSTEE,                       *
                               *
            Plaintiffs,        *
                               *
      v.                       *                    Civil Action No. 14-cv-13351-IT
                               *
FAMILY ENDOWMENT PARTNERS, LP, *
FAMILY ENDOWMENT PARTNERS,     *
LLC, FEP FUND I, LP, and       *
LEE DANA WEISS,                *
                               *
            Defendants.        *

                                         JUDGMENT

       The court having granted in part, and denied in part, the Motion for Default Judgment

[#100] by Plaintiffs Theodore J. Guarriello Jr., Theodore Guarriello Jr. Trust, U/A/Dtd

6/18/2003, and Theodore Guarriello Jr. Trustee (collectively, the “Plaintiffs”) as to Defendants

Family Endowment Partners, LP (“FEP, LP”) and Family Endowment Partners, LLC (“FEP,

LLC”), and having granted in part, and denied in part, Plaintiffs’ Motion for Summary

Judgment [#109] as to Defendant Lee Dana Weiss, and having dismissed, after Plaintiffs’

withdrawal, Counts III [conversion] and IV [breach of contract] as to Defendant Lee Dana

Weiss, and Count IV [breach of contract] as to FEP, LLC, and having allowed Plaintiff’s

Motion for Attorney Fees [#158] as to Defendants FEP, LP, FEP, LLC, and Lee Dana Weiss,

and Plaintiffs and Defendant FEP Fund I, LP (“FEP Fund I”) having stipulated to a judgment

included herein,

      IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Defendants FEP,
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LP, FEP, LLC, and Weiss are jointly and severally liable for compensatory damages to be paid to

Plaintiffs in the following amounts:

            The $3,794,509.44 unpaid balance of the Plaintiffs’ original $4 million investment
             in FEP Fund I, LP made on January 1, 2011, which remained unpaid at the time the
             Complaint was filed.
            The $2 million in principal that the Plaintiffs invested in Biosyntec Polska Sp Zoo
             on January 24, 2011, which remained unpaid at the time the Complaint was filed.
            The $1 million in principal that the Plaintiffs thought they invested in Falcon
             Peregrine Family, LLC on April 11, 2012, which remained unpaid at the time
             the Complaint was filed.

       Defendants FEP, LP, FEP, LLC, and Weiss are also jointly and severally liable for

prejudgment interest of $1,812,571.90 to be paid to Plaintiffs on the cumulative amount of these

damages, for a total obligation of $8,607,081.34.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants FEP, LLC

and FEP, LP—but not Weiss—are jointly and severally liable for compensatory damages in the

amount of $171,748.21 to be paid to Plaintiffs for overcharged advisory and sub-advisory fees,

which remained unpaid at the time the Complaint was filed. Additionally, Defendants FEP, LP

and FEP, LLC are jointly and severally liable for prejudgment interest of $45,817.30 to be paid

to Plaintiffs on the amount of those damages, for a total obligation of $217,565.51.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants FEP, LP,

FEP, LLC, and Weiss are respectively liable to Plaintiffs for the following additional damages

for their willful and knowing violation of § 2 of Chapter 93A of Massachusetts’ Consumer

Protection Act: (i) $6,966,257.65, (ii) $6,966,257.65, and (iii) $6,794,509.44.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants FEP, LP,

FEP, LLC, and Weiss are jointly and severally liable for reasonable attorneys’ fees to be paid to

Plaintiffs in the amount of $783,189.95.


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       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants FEP, LP,

FEP, LLC, and Weiss are jointly and severally liable for reasonable costs to be paid to Plaintiffs

in the amount of $15,111.80.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that judgment shall enter

 in favor of the Plaintiffs and against Defendant FEP Fund I in the amount of $3,794,509.44.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant FEP Fund

 I and its agents or assigns shall cooperate with the orderly liquidation of FEP Fund I, consistent

 with the terms of any Final Judgment or Order Instituting Administrative Proceedings in

 connection with the civil action entitled Securities and Exchange Commission v. Lee D. Weiss,

 et al., Civil Action No. 1: l5-cv-13460-IT, in the United States District Court for the District of

 Massachusetts, and shall cooperate with Plaintiffs in seeking recovery by Plaintiffs from

 Defendant FEP Fund I of Plaintiffs' monetary interests therein, and that any amounts received

 by the Plaintiffs from the orderly liquidation of FEP Fund I described in this paragraph shall be

 credited against the Judgment amount of $3,794,509.44 described in the preceding paragraph.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant FEP Fund

 I shall not provide any payment or compensation to Defendant Lee D. Weiss nor any affiliate of

 Mr. Weiss, including any salary, bonus, or fees, from any proceeds of the orderly liquidation of

 FEP Fund I described in the preceding paragraph.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that as to Defendant FEP

 Fund I this judgment may be utilized and enforced in any domestic or foreign court of

 competent jurisdiction pursuant to the agreement of Plaintiffs and Defendant FEP Fund I

 without regard to any applicable statutes of limitation or statutes of repose.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that post-judgment interest


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shall accumulate and be paid in accordance with 28 U.S.C. § 1961(a).

       Execution on this Final Judgment shall issue forthwith.


Date: October 27, 2016                             /s/ Indira Talwani
                                                   United States District Judge




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